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                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRCT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON


IN RE CLASSICSTAR MARE LEASE            )            MDL No. 1877
LITIGATION                              )            Master File:
                                        )      Civil Action No. 07-353-
WEST HILLS FARMS, LLC, et al.,          )                 JMH
                                        )
      Plaintiffs,                       )
                                        )           Civil Action No.
v.                                      )              5:06-CV-243
                                        )
CLASSICSTAR, LLC, et al.,               )
                                        )     MEMORANDUM OPINION & ORDER
      Defendants.                       )



                                     ***


      This matter is before the Court upon Plaintiffs Motion for a

Declaration that Certain Property Is Owned by Judgment Debtor John

Parrott or was Fraudulently Transferred by Judgment [DE 866], to

which Defendant John Parrott objects [DE 872]. In lieu of a Reply,

Plaintiff has filed a Motion to Continue [DE 875] consideration of

that Motion for Declaration in order that they might collect more

evidence through discovery to support their request for relief

rather than litigate the matter piecemeal.           For the reasons which

follow, Plaintiff’s Motion for a Declaration will be denied, and

Plaintiff’s Motion to Continue will be denied as moot.

      Plaintiffs believe that Defendant John Parrott has used his

legal training to manipulate his financial affairs to hide his
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assets from his judgment creditors, including transferring funds

to his ex-wife, Judy I. Parrott, and Jude Investments, LLC, during

the course of this and other litigation concerning Defendant

Parrott’s involvement with the conspiracy alleged in this action

and which was the subject of criminal proceedings.                          Plaintiffs

seek a declaration that certain money and securities transferred

by Defendant Parrott to his ex-wife and Jude Investments were

fraudulently conveyed such that Defendant Parrott is the owner of

the property and the funds should be subject to execution in this

matter.    Plaintiffs seek, in the alternative, a declaration that

the property was transferred for no consideration and the transfers

are voidable as they violate the rights of Defendant Parrott’s

creditors.

      Plaintiffs rely on Federal Rule of Civil Procedure 69 and the

Court’s inherent authority to enforce its own judgment to provide

this Court with subject matter jurisdiction over this matter.

Certainly,    as    they   point     out,      federal     district     courts    have

“ancillary    jurisdiction        over    a    broad     range   of    supplementary

proceedings involving third parties to assist in the protection

and   enforcement    of    federal       judgments     –   including     attachment,

mandamus, garnishment, and the prejudgment avoidance of fraudulent

conveyances.” Peacock v. Thomas, 516 U.S. 349, 351 and 356 (1996)

(citations    omitted)     (“We    have       reserved     the   use   of    ancillary

jurisdiction in subsequent proceedings for the exercise of a

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federal       court’s   inherent    power        to    enforce   its    judgments.”).

Arguably, the Court would have jurisdiction over Defendant John

Parrott in an action for relief as described and might, if asked,

have jurisdiction over his ex-wife and Jude Investments.                           There

is, however, no reason to make that determination because the cause

of action has not been brought against those parties before this

Court.

        The    Court    appreciates    that       Plaintiffs      would    enjoy    the

convenience of obtaining relief from this Court, before which the

judgment it seeks to enforce was obtained, but ultimately agrees

with Defendant Parrot that, under the circumstances a motion under

Rule 69 cannot provide the relief that Plaintiffs seek.                     First and

foremost, Judy Parrott and Jude Investments are not parties to

this action nor does the Court immediately see how they might be

brought before this Court in the absence of a new action.                               As

Parrott points out, “fraudulent transfer” is, in its own right, a

cause of action in Kentucky and other jurisdictions, including

Florida and the U.S. Virgin Islands, under which law Defendant

theorizes       that    Plaintiff’s    might          seek   redress.     Even     if   a

declaratory action founded on such a cause of action could provide

the appropriate relief, this Court may “may declare the rights and

other    legal    relations    of     any       interested     party    seeking    such

declaration” pursuant to 28 U.S.C. § 2201 only “upon the filing of

an appropriate pleading.”           28 U.S.C. § 2201; see Federal Rule of

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Civil    Procedure      7   (listing     types     of   “pleadings,”      limited    to

complaint,      answer      to    a   complaint,      answer   to    a   counterclaim

designated as a counterclaim, answer to a crossclaim, third-party

complaint, answer to a third-party complaint, and reply to an

answer); see, e.g., Ledbetter v. Knox Cty., Tenn, No. 3:05-CV-248,

2006    WL    354200,    at      *1   (E.D.   Tenn.     Feb.   15,   2006)   (denying

plaintiff’s motion for declaratory relief because no “pleading”

had been filed seeking declaratory relief pursuant to 28 U.S.C. §

2201).

        Absent an amendment to the Complaint or a request for relief

through some other appropriate pleading, which Plaintiffs do not

seek, this Court will not entertain their request for relief.                       Nor

does the Court suggest that it would look favorably upon a request

for amendment.

        Accordingly, IT IS ORDERED:

        (1)   that the Motion for a Declaration that Certain Property

Is Owned by Judgment Debtor John Parrott or Was Fraudulently

Transferred by Judgment [DE 866] is DENIED.

        (2)   that Plaintiffs’ Motion to Continue [DE 875] and to

extend time to file a Reply in order to obtain further evidence in

support of its motion is DENIED AS MOOT.

        This the 29th day of February, 2016.




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